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                          United States District Court
                          Eastern District of Michigan
                               Southern Division

United States of America,

             Plaintiff,
                                          Hon. Linda Parker
v.
                                          Case No. 21-20050
Viktor Gjonaj,

             Defendant.
                                      /

                             Plea Agreement
     The United States of America and the defendant, Viktor Gjonaj

have reached a plea agreement under Federal Rule of Criminal

Procedure 11. The plea agreement’s terms are:

1.   Count of Conviction

     The defendant will waive his right to an indictment and will plead

guilty to Count 1 of the Information. Count 1 charges the defendant

with Wire Fraud under Title 18 U.S.C. §1343.

2.   Statutory Minimum and Maximum Penalties

     The defendant understands that the count to which he is pleading

guilty carries the following minimum and maximum statutory

penalties:

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    Count 1    Term of imprisonment:             20 years

               Fine:                             $250,000

               Term of supervised release:       3 years


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3.      Elements of Count of Conviction

        The elements of Count 1 are:

     x That the defendant knowingly devised and executed a scheme to

        obtain money and property by means of material false and

        fraudulent pretenses, representations and promises,

     x that the scheme included material misrepresentations or the

        concealment of a material fact,

     x that the defendant used or caused the use of a wire

        communication in interstate commerce in furtherance of the

        scheme.

4.      Factual Basis

        The parties agree that the following facts are true, accurately

describe the defendant’s role in the offense, and provide a sufficient

factual basis for the defendant’s guilty plea:



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     In June 2016, GJONAJ believed he had discovered a guaranteed way to win

huge jackpots on the Michigan Lottery Dailey 3 and 4 games which led him to

substantially increase the number of times he played and amounts he spent.

     In 2017, GJONAJ began losing more money than he won and more money

than he could afford to lose. Instead of ending his gambling on the Lottery games,

GJONAJ devised a scheme to trick individuals into giving him money. Using his

experience as a real estate broker and investor, GJONAJ created Title Plus

claiming that it would serve as the closing agency for real estate deals he was

brokering.

     GJONAJ convinced investors that if they gave him money, he would invest it

in lucrative real estate deals. In order to make the deals look legitimate, GJONAJ

instructed investors to transfer money into Title Plus bank accounts. In order to

trick and induce investors into continuing to give him money, GJONAJ, described

entirely fictitious real estate deals and often paid investors “profits” which he

falsely claimed resulted from the sale of real estate. In fact, Title Plus was a sham

company that never closed a deal or facilitated a real estate transaction. All of the

money paid to GJONAJ was used by him to play Lottery games and to cover his

losses in those games.




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     By early 2019, Gjonaj was betting over $1million dollars a week on

Michigan Lottery games using money fraudulently obtained from victims. In

August 2019, Gjonaj’s scheme to defraud unraveled resulting in over $19 million

in losses to victims.

      For the purpose of executing the scheme, on July 3, 2017, GJONAJ

transmitted and caused the transmission by means of wire communication in

interstate or foreign commerce, writings, signs, signals, pictures or sounds, in the

form of a wire transfer of funds in the amount of $1,600,000 from Citizen’s Bank

in Sterling Heights, Michigan to J.P. Morgan Chase in the State of Delaware.

5.    Advice of Rights

      The defendant has read the Information, has discussed the

charges and possible defenses with his attorney, and understands the

crime charged. The defendant understands that, by pleading guilty, he[

is waiving many important rights, including the following:

      A.     The right to plead not guilty and to persist in that plea;

      B.     The right to a speedy and public trial by jury;

      C.     The right to be represented by counsel—and, if necessary,

      have the court appoint counsel—at trial;




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     D.    The right to be presumed innocent and to require the

     government to prove the defendant guilty beyond a reasonable

     doubt at trial;

     E.    The right to confront and cross-examine adverse witnesses

     at trial;

     F.    The right to testify or not to testify at trial, whichever the

     defendant chooses;

     G.    If the defendant chooses not to testify at trial, the right to

     have the jury informed that it may not treat that choice as

     evidence of guilt;

     H.    The right to present evidence or not to present evidence at

     trial, whichever the defendant chooses; and

     I.    The right to compel the attendance of witnesses at trial.

6.   Collateral Consequences of Conviction

     The defendant understands that his conviction here may carry

additional consequences under federal or state law. The defendant

understands that, if he is not a United States citizen, his conviction

here may require him to be removed from the United States, denied

citizenship, and denied admission to the United States in the future.


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The defendant further understands that the additional consequences of

his conviction here may include, but are not limited to, adverse effects

on the defendant’s immigration status, naturalized citizenship, right to

vote, right to carry a firearm, right to serve on a jury, and ability to hold

certain licenses or to be employed in certain fields. The defendant

understands that no one, including the defendant’s attorney or the

Court, can predict to a certainty what the additional consequences of

the defendant’s conviction[s] might be. The defendant nevertheless

affirms that the defendant chooses to plead guilty regardless of any

immigration or other consequences from his conviction.

7.   Defendant’s Guideline Range

     A.    Court’s Determination

     The Court will determine the defendant’s guideline range at

sentencing.

     B.    Acceptance of Responsibility

     The government recommends under Federal Rule of Criminal

Procedure 11(c)(1)(B) that the defendant receive a two-level reduction

for acceptance of responsibility under USSG § 3E1.1(a). Further, if the

defendant’s offense level is 16 or greater and the defendant is awarded



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the two-level reduction under USSG § 3E1.1(a), the government

recommends that the defendant receive an additional one-level

reduction for acceptance of responsibility under USSG § 3E1.1(b).] If,

however, the government learns that the defendant has engaged in any

conduct inconsistent with acceptance of responsibility—including, but

not limited to, making any false statement to, or withholding

information from, his probation officer; obstructing justice in any way;

denying his guilt on the offense to which he is pleading guilty;

committing additional crimes after pleading guilty; or otherwise

demonstrating a lack of acceptance of responsibility as defined in USSG

§ 3E1.1—the government will be released from its obligations under

this paragraph, will be free to argue that the defendant not receive any

reduction for acceptance of responsibility under USSG § 3E1.1, and will

be free to argue that the defendant receive an enhancement for

obstruction of justice under USSG § 3C1.1.

     C.    Other Guideline Recommendations

     The parties also recommend under Federal Rule of Criminal

Procedure 11(c)(1)(B) that the following guideline provisions apply

That the loss amount is more than $9,500,000 and less than,


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$25,000,000. USSS 2B1.1(b)(1)(K). That there are more than 10 victims.

USSS 2B1.1(b)(2)(A). And that the defendant used sophisticated means

to commit the fraud. USSS 2B1.1(b)(10(C

     D.    Parties’ Obligations

     Both the defendant and the government agree not to take any

position or make any statement that is inconsistent with any of the

guideline recommendations or factual stipulations in paragraphs 7.B,

7.C, or 7.D. Neither party is otherwise restricted in what it may argue

or present to the Court as to the defendant’s guideline calculation.

     E.    Not a Basis to Withdraw

     The defendant understands that he will have no right to withdraw

from this agreement or withdraw his guilty plea if he disagrees, in any

way, with the guideline range determined by the Court, even if that

guideline range does not incorporate the parties’ recommendations or

factual stipulations in paragraphs 7.B, 7.C, or 7.D. The government

likewise has no right to withdraw from this agreement if it disagrees

with the guideline range determined by the Court.




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8.   Imposition of Sentence

     A.    Court’s Obligation

     The defendant understands that in determining his sentence, the

Court must calculate the applicable guideline range at sentencing and

must consider that range, any possible departures under the sentencing

guidelines, and the sentencing factors listed in 18 U.S.C. § 3553(a), and

apply any applicable mandatory minimums.

     B.    Imprisonment

     1.    Recommendation

     Under Federal Rule of Criminal Procedure 11(c)(1)(B), the

government recommends that the defendant’s sentence of imprisonment

on Count 1 not exceed 97 months.

     2.    No Right to Withdraw

     The government’s recommendation in paragraph 8.B.1 is not

binding on the Court. The defendant understands that he will have no

right to withdraw from this agreement or withdraw his guilty plea if the

Court decides not to follow the government’s recommendation. The

government likewise has no right to withdraw from this agreement if

the Court decides not to follow the government’s recommendation. If



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however, the Court rejects or purports to reject any other term or terms

of this plea agreement, the government will be permitted to withdraw

from the agreement.

      C.    Supervised Release

            1.   Recommendation

      Under Federal Rule of Criminal Procedure 11(c)(1)(B), the parties

recommend that the Court impose a 3 year term of supervised release.

            2.   No Right to Withdraw

      The parties’ recommendation is not binding on the Court. The

defendant understands that he will have no right to withdraw from this

agreement or withdraw his guilty plea if the Court decides not to follow

the parties’ recommendation. The defendant also understands that the

government’s recommendation concerning the length of the defendant’s

sentence of imprisonment, as described above in paragraph 8.B.1, will

not apply to or limit any term of imprisonment that results from any

later revocation of the defendant’s supervised release.

      D.    Fines

      There is no recommendation or agreement as to a fine.




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      E.    Restitution

      The Court must order restitution to every identifiable victim of

the defendant’s offense. There is no recommendation or agreement on

restitution. The Court will determine at sentencing who the victims are

and the amounts of restitution they are owed.

      The defendant agrees that restitution is due and payable

immediately after the judgment is entered and is subject to immediate

enforcement, in full, by the United States. 18 U.S.C. §§ 3612(c) and

3613. If the Court imposes a schedule of payments, the defendant

agrees that the schedule of payments is a schedule of the minimum

payment due, and that the payment schedule does not prohibit or limit

the methods by which the United States may immediately enforce the

judgment in full.

      The defendant agrees to make a full presentence disclosure of his

financial status to the United States Attorney’s Office by completing a

Financial Disclosure Form and the accompanying releases for the

purpose of determining his ability to pay restitution. The defendant

agrees to complete and return the Financial Disclosure Form within

three weeks of receiving it from government counsel. The defendant


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agrees to participate in a presentencing debtor’s examination if

requested to do so by government counsel.

      F.    Forfeiture

      As part of this agreement, the defendant agrees to forfeit any and

all proceeds derived from his participation in the wire fraud scheme

charged in Count 1 of the Information, pursuant to 18 U.S.C.

§ 981(a)(1)(C) together with 28 U.S.C. § 2461(c). Specifically, defendant

agrees to the entry of a forfeiture money judgment against him, in favor

of the United States, in the amount of Nineteen Million Twenty Five

Thousand Dollars ($19,025,000), which represents the amount that

defendant personally obtained as a result of the wire fraud scheme

charged in Count 1 of the Information and described in the factual basis

above.

      Following entry of this Rule 11 Agreement, and upon application

by the United States, the defendant agrees to the court’s prompt entry

of a Preliminary Order of Forfeiture imposing the above referenced

forfeiture money judgment against the defendant.

      The defendant agrees that the forfeiture money judgment may be

satisfied from any property owned by him or under his dominion and


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control. The defendant explicitly agrees to the forfeiture of any and all

substitute assets under 21 U.S.C. § 853(p)(2) and waives and

relinquishes his right to oppose the forfeiture of substitute assets under

21 U.S.C. § 853(p)(1) or otherwise.

      The defendant knowingly, voluntarily, and intelligently waives all

constitutional and statutory challenges, in any form, to any forfeiture

carried out in accordance with this plea agreement, on any grounds,

including that the forfeiture constitutes an excessive fine or punishment

under the Excessive Fines Clause of the Eighth Amendment.

      The defendant acknowledges that he understands that forfeiture

is part of the sentence that may be imposed against him in this case

and waives his right to challenge any failure by the court to advise him

of this, under Rule 11(b)(1)(J), or otherwise, at the time his guilty plea

is accepted. The defendant further waives the requirements of Federal

Rules of Criminal Procedure 32.2 and 43(a) regarding notice of

forfeiture in the charging instrument, pronouncement of forfeiture at

sentencing, and incorporation of forfeiture in the judgment and waives

any right he may have to request a jury determine forfeiture under Rule

32.2(b)(5).


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      G.    Special Assessment

      The defendant understands that he will be required to pay a

special assessment of $100, due immediately upon sentencing.

9.    Appeal Waiver

      The defendant waives any right he may have to appeal his

conviction on any grounds. If the defendant’s sentence of imprisonment

does not exceed 97 months, the defendant also waives any right he may

have to appeal his sentence on any grounds.

10.   Collateral Review Waiver

      The defendant retains the right to raise claims alleging ineffective

assistance of counsel or prosecutorial misconduct, as long as the

defendant properly raises those claims by collateral review under 28

U.S.C. § 2255. The defendant also retains the right to pursue any relief

permitted under 18 U.S.C. § 3582(c), as long as the defendant properly

files a motion under that section. The defendant, however, waives any

other right he may have to challenge his conviction or sentence by

collateral review, including, but not limited to, any right he may have to

challenge his conviction or sentence on any grounds under 28 U.S.C.

§ 2255 (except for properly raised ineffective assistance of counsel or



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prosecutorial misconduct claims, as described above), 28 U.S.C. § 2241,

or Federal Rule of Civil Procedure 59 or 60.

11.   Consequences of Withdrawal of Guilty Plea or Vacation of
      Judgment

      If the defendant is allowed to withdraw his guilty plea, or if the

defendant’s conviction or sentence under this agreement is vacated, the

government may reinstate any charges against the defendant that were

dismissed as part of this agreement and may file additional charges

against the defendant relating, directly or indirectly, to any of the

conduct underlying the defendant’s guilty plea or any relevant conduct.

If the government reinstates any charges or files any additional charges

as permitted by this paragraph, the defendant waives his right to

challenge those charges on the ground that they were not filed in a

timely manner, including any claim that they were filed after the

limitations period expired.

12.   Use of Withdrawn Guilty Plea

      The defendant agrees that if he is permitted to withdraw his[her]

guilty plea for any reason, he[she] waives all of his[her] rights under

Federal Rule of Evidence 410, and the government may use his[her]

guilty plea, any statement that the defendant made at his[her] guilty

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plea hearing, and the factual basis set forth in this agreement, against

the defendant in any proceeding.

13.   Parties to Plea Agreement

      This agreement does not bind any government agency except the

United States Attorney’s Office for the Eastern District of Michigan.

14.   Scope of Plea Agreement

      This plea agreement is the complete agreement between the

parties and supersedes any other promises, representations,

understandings, or agreements between the parties concerning the

subject matter of this agreement that were made at any time before the

guilty plea is entered in court. Thus, no oral or written promises made

by the government to the defendant or to the attorney for the defendant

at any time before the defendant pleads guilty are binding except to the

extent they have been explicitly incorporated into this plea agreement.

If the parties have entered, or subsequently enter, into a written proffer

or cooperation agreement, though, this plea agreement does not

supersede or abrogate the terms of that agreement. This plea

agreement also does not prevent any civil or administrative actions




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